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              ORDERED in the Southern District of Florida on May 31, 2022.




                                                              A. Jay Cristol, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________



                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                                                          CASE NO.: 22-11124-BKC-AJC
                                                                       PROCEEDING UNDER CHAPTER 13

     IN RE:

     AVA CELESTE BENJAMIN

     _____________________________/
     DEBTOR

     ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS
                               NON-REFUNDABLE

        THIS CASE came to be heard on May 24, 2022 upon the Confirmation Hearing of the Chapter 13
     Case, and based on the record, it is

        ORDERED as follows:

        1. The Confirmation Hearing is continued to June 28, 2022 at 1:35 pm. The hearing will be
           conducted by video conference. For instructions, please refer to the General Procedures for
           Hearings By Video Conference on the Court’s website. To participate in the hearing, you must
           register for the video conference no later than 3:00 pm one business day before the date of the
           hearing. To participate, click on the following link or manually enter the following link in a
           browser:
           https://www.zoomgov.com/meeting/register/vJIsdO6orj8tEykAkNLdQ8XQPhWjIJbyMzo
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           ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS NON-REFUNDABLE
                                                                         CASE NO.: 22-11124-BKC-AJC




  2. The Debtor is ordered to continue making payments each month to the Chapter 13 Trustee in
     accordance with the last filed Chapter 13 Plan. Failure to continue payments may result in the
     dismissal of this case.

  3. As a condition for the continued confirmation hearing and delay of payments to creditors, all
     payments held by the Chapter 13 Trustee shall be non-refundable and held in trust for the secured
     creditors as adequate protection, and in trust for priority and administrative creditors.

  4. If this case is dismissed or converted, the Trustee shall disburse all funds which were received
     prior to the order of conversion or dismissal and held in trust. The disbursement shall be on a pro
     rata basis, less Trustee fees, to the secured, priority or administrative creditors pursuant to the
     proposed Chapter 13 Plan which was filed at least one day prior to last confirmation hearing date.


                                                 ###

ORDER SUBMITTED BY:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

COPIES FURNISHED TO:

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